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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


IN THE MATTER OF THE            MJ 18-      -M-JCL
SEARCH OF:

1903 Townsend Avenue            Filed U oder Seal
Helena, MT


                      AFFIDAVIT IN SUPPORT OF
                 APPLICATION FOR SEARCH WARRANT

    I, Levi Kroschel, being first duly sworn, hereby depose and state as follows:

            INTRODUCTION AND AGENT BACKGROUND

           1.     I am a Special Agent with the Federal Bureau of Investigation

    (FBI) and have been since January 2017. I am currently assigned to the FBI

    Helena Resident Agency (RA) in Helena, Montana, which is part of the Salt

    Lake City Division of the FBI. I am a member of the FBI Montana Regional

    Violent Crime Task Force (MRVCTF) which specializes in targeting

    habitual violent offenders and dismantling violent criminal enterprises and

    drug trafficking organizations. During my time as a Special Agent, I have

    participated in several complex investigations. Prior to my employment

    with the FBI, I served as a police officer in Colorado for five years and I

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have been the affiant on numerous warrants for criminal violations in the

state of Colorado.

      2.     The facts in this affidavit come from my personal observations,

my training and experience, and information obtained from other agents and

witnesses. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

      3.     This affidavit is in support of a search warrant application for

stored content from Facebook accounts regarding an ongoing conspiracy to

distribute and traffic methamphetamine and heroin to Montana in violation

of 21 U.S.C. § 846 and 21 U.S.C. § 841(a)(l).

                        PROPERTY TO BE SEARCHED

      4.     This affidavit is made in support of an application for a search

warrant to search the following location: A two-story residence located at

1903 Townsend Avenue Helena, Montana 59601-3143, rented by Treblinka

Dolan. This property contains a two story home and basement with beige

siding and large green shrubs along the perimeter of the property. The

residence does not have visible numbering indicating the address from the

Townsend Avenue side or the alley way. The south entrance, accessed

through the alley, is used as the main entrance for Dolan's residence. The

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property also includes a smaller apartment located on the southwest comer

of the main residence and a detached living space near the alley way. The

apartment on the southwest comer of the main structure is not accessible

from within Dolan's residence. A separate entrance to the apartment is

located on the southwest comer of the main structure. The apartment on the

southwest comer and the detached living space near the alley are not

included in this warrant.

                        PROBABLE CAUSE

       5.    In May of 2017, the MRVCTF received information from

James Allen Jr. that Greg Ryan, who lived at 1903 Townsend Avenue in

Helena, Montana, was a heroin supplier. Allen Jr. admitted to having

purchased several points of heroin from Ryan several days before the

interview. One point is used to describe one-tenth of a gram. Ryan was

involved in a relationship with Treblinka Dolan, who lived at the above

listed address.

      6.     Following the information from Allen Jr., a trash cover was

conducted at 1903 Townsend Avenue. The trash cover was facilitated

through a confidential source who had access to the refuse. On June 1, 2017,

the refuse was collected by a City of Helena trash vehicle and transported to

3001 Lyndale Avenue for inspection by Special Agents.


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      7.     Inspection of the refuse yielded two capped syringes and a

piece of mail addressed to 1903 Townsend Avenue. The barrel and plunger

of one of the syringes was later swabbed and placed inside a Nik Narcotics

Identification Systems pouch. The substance tested presumptive positive for

amphetamine compounds.

      8.     On June 7, 2017, a state search warrant was executed at 1903

Townsend Avenue by members of the MRVCTF. Dolan and Ryan were

located inside the residence. After the residence was secured, Dolan agreed

to speak with Special Agent (SA) Monte Shaide and Task Force Officer

Jared Cochran. Dolan was cooperative with interviewing agents and

provided information on other suppliers and sellers in the area.

      9.     During the interview, Dolan said Ryan travelled back and forth

from Olympia, Washington, every other week to pick up heroin. Dolan said

Ryan brought back about one-half ounce, or 14 grams, from Washington per

trip. Dolan said she and Ryan both needed the drug to survive. Dolan

admitted to distributing heroin through Zach Weaseltail when she was

supplied with heroin. Dolan was also cooperative in locating her personal

use kit and unused needles inside the residence.




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      10.    The search of the residence revealed multiple items of

paraphernalia with residue. The items were collected and placed into

evidence by TFO Hayes at the Lewis and Clark County Sheriffs Office.

      11.    In February 2018, Karen Martini was interviewed regarding

Royden Johnson. At the time of the interview, Martini was staying with

Johnson at his residence, located at 410 South Montana Avenue. Martini

identified Johnson as a methamphetamine supplier in Helena. Martini said

Larry Espinosa, Mike Martell, Roger Keech, John Haley, and Treblinka

Dolan frequented Johnson's residence.

      12.    During the interview, Martini considered Dolan to be the main

supplier of the group. Martini said Dolan travelled to Helena from Spokane,

Washington, and delivered methamphetamine to Johnson at his residence.

Martini believed Johnson also drove to Spokane to pick up

methamphetamine from Dolan.

      13.    Martini also admitted to accompanying Johnson and Keech on a

run to Spokane to meet Dolan. During the trip, Martini was given a rolled

cigarette that she said tasted sweet and smelled nice. The next thing Martini

remembered was seeing Dolan. Martini was able to identify Dolan from her

picture on Face book. Martini remained in the back seat of the car while

Johnson, Keech, and Dolan spoke to each other outside.


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      14.    During the trip, Martini stayed in a hotel with Johnson, who

was smoking methamphetamine. The following day, Johnson and Martini

left the hotel around 11 AM. Johnson told Martini that Dolan and Keech had

already left in Keech's car. Johnson also told Martini there was two pounds

of methamphetamine inside the car he was driving.

      15.    Martini and Johnson eventually returned to Johnson's

residence. While there, Martini said she was confronted by Keech and

Dolan. Martini also said Dolan was often at Johnson's house for meetings

that lasted three to four hours. Martini was not allowed to be part of the

meetings that occurred.

      16.    Martini was asked to describe the hierarchy of the drug

trafficking organization. Martini said everyone involved answered to Dolan.

Martini said Johnson and Keech were just below Dolan. Those below

Johnson and Keech included Will Lesh and Corrin Lesh.

      17.    Following the interview with Martini, Larry Espinosa was

interviewed at the Lewis and Clark County Jail. During the interview,

Espinosa admitted to providing money to Nick Spalding and Jason Smart as

an investment in a drug deal. In a later interview with Espinosa, he

referenced Dolan's involvement in trafficking drugs. Espinosa said Dolan

was dying and said she was the one who connected everyone together.


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Espinosa said Dolan was the one who set everything up and all involved

individuals were based on Dolan's connections. Espinosa said Dolan lived in

Helena and described her residence as having shrubs around it.

      18.    On February 27, 2018, a federal search warrant was executed

on 410 South Montana Avenue. Royden Johnson and Maya Bannon were

contacted inside the residence at the time of the warrant service and were

detained by agents. Both Johnson and Bannon were interviewed following

the warrant execution.

      19.    Johnson was interviewed by SA Bowen and TFO Hayes

following the search warrant at his residence. Johnson was advised of his

rights prior to the interview and agreed to speak with the interviewing

agents. Johnson confirmed that he did make a trip to Washington with

Martini and Keech. Johnson said they drove to a hotel and met with Dolan.

After the meeting, Johnson drove Dolan's car back to Montana. Johnson said

there were no drugs in Dolan's car on the return trip to Montana. Johnson

believed Keech received a couple of ounces of methamphetamine from

Dolan during this trip. Johnson also said Dolan provided him and Martini

with one-quarter ounce of methamphetamine at the hotel.

      20.    TFO Cochran and SA Nick Seedall interviewed Bannon after

she was removed from the residence and placed in an unmarked police


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vehicle. TFO Cochran advised Bannon of her rights, and Bannon agreed to

speak with TFO Cochran and SA Nick Seedall.

      21.    Bannon admitted to being a heavy intravenous

methamphetamine user and said she used up to two grams per day. Bannon

stayed in the upstairs bedroom of the residence and admitted there was

methamphetamine that was hers under the bed. Bannon had stayed in the

residence for approximately four days before the search.

      22.    Bannon was aware Johnson was a methamphetamine supplier

and that he had recently had a falling out with his co-conspirators in the

Helena area. Bannon said John Haley, Tricia Werner, a male named Nick,

Larry Espinosa, Roger Keech, Roy Shostack, and Treblinka Dolan were

involved with Johnson.

      23.    Bannon said she recently had been getting her

methamphetamine from Dolan. Bannon said Dolan drove a blue car with the

driver's window broken out. Bannon said Dolan lived on the comer of

Hannaford Street and Townsend Avenue in Helena. Bannon had first met

Dolan through Keech when Bannon was released from jail around February

7,2018.

      24.    Following the execution of the search warrant at the residence,

a state search warrant was issued for Johnson's cell phone. The data


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extraction revealed Facebook messages were exchanged between Johnson

and Dolan.

      25.    In a series of follow-up interviews with Bannon in April 2018,

Bannon provided additional information on Dolan's involvement in

trafficking drugs with Johnson and Keech. According to Bannon, Dolan

returned from a run with Haley, Werner, and a male named Steve after

Bannon was released from jail. Bannon remembered Dolan gave Keech

several ounces of methamphetamine after the trip. Bannon believed Dolan

received her methamphetamine from Nick Spalding.

      26.    Several weeks prior to the interview and following the search at

Johnson's residence, Bannon said she accompanied Dolan on a trip to

Washington. While in Washington, Bannon met Dolan's boyfriend, Greg

Ryan, who is known to law enforcement as involved in using and

distributing heroin. During this trip, Bannon believed Ryan and Dolan

wanted Bannon to sell drugs for them and act as the runner between

Washington and Montana.

      27.    Bannon separated the drug suppliers in Helena into two groups.

The first consisted of Johnson, Keech, Joanna Barnes, and herself. The

second group consisted of Haley, Espinosa, and Werner. Bannon described

the common denominator of the two groups as Dolan. In a later interview


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with Bannon, she explained that Dolan had introduced Haley, Keech, and

other known drug dealers in the Helena area.

        28.   Bannon said Keech and Dolan had also been in a dispute

regarding drugs. Bannon explained Keech thought Dolan took drugs from

him. The dispute between Keech and Dolan caused Keech to seek out

Spalding as his supplier. Bannon also said Dolan later took 11 grams of

methamphetamine from Spalding without paying for it.

        29.   Bannon said she periodically stayed with Dolan at her residence

following the search warrant at Johnson's residence. While at Dolan's

residence, Dolan gave Bannon her first shot of heroin. Bannon said the

heroin made her sick and that she slept for 15 hours after using it. Bannon

estimated Dolan had almost three grams of heroin when Dolan gave her the

shot.

        30.   Bannon revealed Dolan also received shipments of heroin

through the mail at her residence at 1903 Townsend Avenue. Bannon said

three packages were supposed to come to Dolan, but only two were received

by Dolan. Bannon saw three baggies of heroin that Dolan had received in

one of her packages through the mail. Bannon estimated three of the baggies

were equivalent to an eight ball size of methamphetamine.




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      31.    Following the information that was provided regarding Dolan' s

shipments of heroin through the U.S. Postal Service, a postal watch was

placed on the residence on May 1, 2018. As of this writing, no packages of

heroin have been located in transit to Dolan's residence.

      32.    On May 9, 2018, at approximately 1:39 PM, Bannon contacted

SA Levi Kroschel and SA Jason Bowen by telephone. Earlier in the same

day, Bannon attempted to contact Dolan through Facebook and by phone but

was unsuccessful. When Bannon was not able to contact Dolan through

Facebook or phone, Bannon decided to go to Dolan's residence at 1903

Townsend Avenue. Bannon estimated she arrived at Dolan's residence at

approximately 12:45 PM on May 9, 2018. Bannon said Dolan was excited to

see her and invited her inside the residence. Bannon observed Dolan

complete a drug transaction and said Dolan had approximately two grams of

dark, or heroin. Bannon said she left Dolan's residence and returned to her

residence where Dolan was waiting to pick her back up. Bannon was not

tasked with returning to Dolan's residence. Bannon decided to return to

Dolan's residence with Dolan because not returning would have been out of

character and suspicious to Dolan.

      33.    At approximately 2 PM on May 9, 2018, with Bannon at

Dolan' s residence, SA Kroschel and SA Bowen conducted surveillance in


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the area ofDolan's residence. Parked in the alley behind the residence was a

small blue sedan with clear plastic covering the driver side window. A small

silver car with a rear spoiler and a small black truck were also seen parked in

the alley behind the residence. The small black truck left shortly after

surveillance began.

        34.   As surveillance continued, still on May 9, 2018, a sedan pulled

into the alley behind the residence and a male and female were seen outside

the vehicle. The male walked toward the house and out of view before he

returned to the silver vehicle. The male entered the silver vehicle and drove

away.

        35.   Shortly after, the small blue car with plastic over the driver

window left the residence and travelled south on Hannaford Street and

turned left on Boulder Street. Surveillance continued until the vehicle pulled

into a gas station located near the intersection of Cedar Street and Oakes

Street. When the passenger opened the door, Bannon was seen exiting the

vehicle.

        36.   Following the surveillance, Bannon was interviewed at the

Helena RA by SA Kroschel and TFO Hayes at approximately 4:40 PM on

May 9, 2018. Bannon provided a more detailed account of her interaction

with Dolan on May 9, 2018. Bannon said she first went to Dolan's residence


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around 12:45 PM after she could not contact Dolan through Facebook or the

phone. After Dolan invited Bannon inside, Bannon saw Dolan complete two

separate drug transactions. One of the transactions involved a male who was

unknown to Bannon and the other involved a male named Callin (Last Name

Unknown).

      3 7.   Bannon said Dolan told her the unknown male received two

grams of heroin from Dolan. Bannon said the unknown male was involved

with heroin in the Helena area and was known to associate with Joanna

Barnes. Bannon also saw Callin trade one bag of clear, or

methamphetamine, for one point of dark from Dolan. Bannon also saw

Dolan and the others in the residence do shots of heroin. Dolan told Bannon

the heroin was good and also said she had a can ofNarcan. After the drug

transactions, Bannon returned to her house and Dolan came to pick her up.

      38.    After Dolan and Bannon returned to Dolan's residence, Bannon

said Trenton Hiler, Gerald Hiler, and Gerald's daughter also arrived at the

residence. Trenton then left in his silver car. Bannon estimated there were

nearly 500 used needles inside Dolan's residence and that Dolan kept her

used needles in a box. Bannon suspected Dolan had enough heroin for her to

sell and for personal use to prevent getting sick.




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          39.   Dolan told Bannon she was able to stay high while she was in

Washington and that she had missed a vein in her groin when she was trying

to shoot up. Dolan told Bannon she now "muscled" the heroin, which meant

she injected it into her muscle instead of into a vein. Dolan also told Bannon

she did not think she could ever stop using heroin.

          40.   Bannon said Dolan kept her drugs in a brown Gucci bag that

was kept in her purse, with her, or in her closet. Dolan provided Bannon

with her telephone number of (360) 789-2722. Dolan eventually dropped off

Bannon at a gas station near the intersection of Cedar Street and Oakes

Street.

          41.   On May 10, and again on May 24, 2018, trash covers were

conducted at 1903 Townsend Avenue in Helena. The trash covers were

facilitated through a source who has been known to provide reliable

information and had access to the refuse. On May 10, a syringe and a State

of Montana Department of Health and Human Services SNAP application

addressed to Dolan at 1903 Townsend Avenue were located in a single bag.

The syringe was later field tested for the presence of methamphetamine. The

test indicated a field presumptive positive, indicating the presence of

methamphetamine.




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      42.   During the second trash cover, the following items were located

and collected: multiple hypodermic syringes, multiple plastic bindles

containing an off white substance, one plastic bag containing white residue,

and two pieces of mail addressed to Treblinka Dolan at 1903 Townsend

Avenue.




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                             AUTHORIZATION REQUEST

           43.   Based on the foregoing, I submit there is probable cause to

     search the premises referenced above in paragraph 4 and below in

     Attachment A, for the items referenced in Attachment B. The evidence I

     have reviewed indicates Treblinka Dolan is involved in trafficking large

     amounts of methamphetamine and heroin in the Helena area.



                                         Respectfully submitted,


                                        Levi Kroschel
                                        Special Agent
                                        Federal Bureau of Investigation




Subscribed and sworn to before me on June~, 2018




                                            er   iah C. Lynch
                                               ted States Magistrate Juage
                                             issoula, Montana




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